              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 1 of 25



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 7
 8                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
10
11   ELRETHA PERKINS and LARONICA                     Case No. 3:22-cv-3455
12   JOHNSON, individually and on behalf of all
     others similarly situated,                       CLASS ACTION COMPLAINT
13
                    Plaintiffs,
14                                                    (1) Violation of the Equal Credit
            vs.                                           Opportunity Act, 15 U.S.C. § 1691, et
15
                                                          seq.
16   WELLS FARGO, N.A., a Delaware                    (2) Violation of the Fair Housing Act, 42
     Corporation; WELLS FARGO HOME                        U.S.C. § 3601, et seq.
17                                                    (3) Violation of the Civil Rights Act of 1866,
     MORTGAGE, INC., a Delaware
     Corporation,                                         42 U.S.C. § 1981, et seq.
18
                                                      (4) Violation of the California Unfair
19                  Defendants.                           Competition Law, Cal. Bus. & Pro. Code
                                                          §17200, et seq.
20
21                                                    JURY TRIAL DEMANDED
22
23
24
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26
27
28



                                   CLASS ACTION COMPLAINT - 1
                 Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 2 of 25



 1          Plaintiffs Elretha Perkins and Laronica Johnson, on behalf of themselves and all others
 2
     similarly situated, bring this action against Defendants Wells Fargo, N.A. and Wells Fargo Home
 3
     Mortgage (The “Defendants” or “Wells Fargo”) to address the substantial injuries they and all
 4
     others similarly situated sustained arising from Wells Fargo’s illegal discrimination, in violation
 5
 6   of the Equal Credit Opportunity Act, the Fair Housing Act, the Civil Rights Act of 1866, and the

 7   California Unfair Competition Law.
 8
                                     I. NATURE OF THE ACTION
 9
            1.       Homeownership in the United States of America is a central tenet of the American
10
11   Dream. For millions of Americans, homeownership is the foundation of family, community, and

12   human dignity.
13          2.       By design, however, federal agencies and financial institutions in charge of making
14
     homeownership a reality have long placed African Americans and other racial minorities at a
15
     structural disadvantage.
16
17          3.       Soon after Congress passed the National Housing Act of 1934 (NHA) into law,

18   federal agencies, and financial institutions responsible for fulfilling the NHA’s promise drew maps
19
     across the United States, placing “greenlines” around neighborhoods that were predominantly
20
     white Anglo-Saxon and Northern European, and “redlines” around neighborhoods that were
21
     predominantly African American and other racial minority populations.
22
23          4.       This discriminatory practice of “redlining” caused African American home loan

24   applicants to be denied more often than their similarly situated white counterparts, to receive less
25
     favorable terms than their similarly situated white counterparts, and to receive inferior treatment
26
     as part of the home loan application process than their similarly situated white counterparts.
27
28



                                    CLASS ACTION COMPLAINT - 2
                  Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 3 of 25



 1           5.       In 1968, Congress enacted the Fair Housing Act, seeking to, among other things,
 2
     end the discriminatory practice of redlining.
 3
             6.       Despite decades of efforts since the Fair Housing Act, recent data from federal
 4
     housing agencies indicate that African Americans and other racial minorities, of worthy credit,
 5
 6   continue to face discrimination in access to, and quality of, home loans when compared to their

 7   similarly situated white counterparts. Among those who continue to contribute to this injustice is
 8
     Wells Fargo.
 9
             7.       Indeed, data reviewed reveals that in 2020, Wells Fargo rejected a majority of
10
11   completed home loan applications submitted by African American homeowners as compared to

12   similarly situated white applicants.1 Moreover, the application process designed by Wells Fargo is
13   more difficult for African American applicants to complete, resulting in 27% of all African
14
     American applicants to withdraw their application before completing it.2
15
             8.       Wells Fargo has a long history of discrimination against African Americans and
16
17   other racial minorities in the home loan arena. For example, in 2011, a jury found Wells Fargo

18   guilty of systematically discriminating against minority home buyers by using a computer software
19
     in part to identify minority homeowners which resulted in them paying more for their home loans
20
     than white borrowers. See Opal Jones, et. al v. Wells Fargo Bank, N.A., et al., Case No. BC337821
21
     (Los Angeles Superior Court. 2011), rev’d on other grounds, Case No. B243333, 2015 WL
22
23   662081. The following year, a United States Department of Justice (DOJ) Civil Rights Division

24   investigation found that in more than 34,000 cases, Wells Fargo charged Black and Hispanic
25
     customers higher fees and interest rates than white customers with similar credit profiles.3 Despite
26
27   1
        https://www.bloomberg.com/graphics/2022-wells-fargo-black-home-loan-refinancing
     2
       Id.
28   3
        See Justice Department Reaches Settlement with Wells Fargo Resulting in More Than $175 Million in Relief for
     Homeowners to Resolve Fair Lending Claims (DOJ Release) July 12, 2012, https://www.justice.gov/opa/pr/justice-
     department-reaches-settlement-wells-fargo-resulting-more-175-million-relief (accessed April 10, 2022).


                                        CLASS ACTION COMPLAINT - 3
                  Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 4 of 25



 1   having to be held accountable for its discriminatory conduct many times before, Wells Fargo
 2
     continues its pattern and practice of discrimination against non-white borrowers.
 3
             9.       Starting in at least 2018, and continuing to the present, Wells Fargo has
 4
     discriminated against African Americans, and other racial minorities, by deploying a modern home
 5
 6   loan scheme that is tantamount to 21st century redlining.

 7           10.      Wells Fargo deploys this discriminatory scheme in two critical ways. First, Wells
 8
     Fargo uses a computer system which deploys automated algorithms and artificial intelligence-like
 9
     machine learning as part of its home loan decisions. These algorithms and artificial intelligence
10
11   machine learning technologies—like the redlining maps of the 1930’s—select geographic areas

12   that are predominantly African American (and other racial minorities) and subject those
13   geographies and persons within those geographies to adverse treatment as part of home loan
14
     decisions.
15
             11.      For example, Wells Fargo’s algorithm labels certain neighborhoods that are
16
17   predominantly Black as neighborhoods ineligible for rapid loan processing, a service provided to

18   similarly situated white applicants. As a result, Wells Fargo loan personnel have told African
19
     American loan applicants who live in predominantly Black neighborhoods that they would not
20
     receive the same rapid application process as their white counterparts.4
21
             12.      Second, Wells Fargo applies several pretextual actions in the home loan
22
23   application process which are specifically targeted at non-white borrowers. These actions include,

24   but are not limited to, (i) providing African American applicants with an inferior and slower
25
     valuation process for homes in predominantly Black neighborhoods, (ii) placing loan officers who
26
     were able to process applications significantly farther away from Black applicants than their white
27
28
     4
       See Wells Fargo Rejected Half Its Black Applicants in Mortgage Refinancing Boom (bloomberg.com),
     www.bloomberg.com/graphics/2022-wells-fargo-black-home-loan-refinancing/, (accessed March 28, 2022).


                                      CLASS ACTION COMPLAINT - 4
                Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 5 of 25



 1   counterparts, and (iii) delaying processing of applications from African Americans, when
 2
     compared to their similarly situated white counterparts.
 3
               13.   Based on the data, the disparate impact of Wells Fargo’s discriminatory scheme is
 4
     quite clear. A white applicant seeking to refinance their home loan, who earned between $0 and
 5
 6   $63,000 per year were more likely to have their home loan financing application approved by

 7   Wells Fargo than a Black applicant seeking to refinance their home loan, who earned between
 8
     $120,000 and $168,000 per year.5 As a result of Wells Fargo’s barrage of pretextual actions aimed
 9
     at deterring Black applicants, more than one-quarter of all Black homeowners who began an
10
11   application to finance their home loan through Wells Fargo did not finish their application.6

12             14.   Wells Fargo was the only major lender in the United States of America that
13   approved a smaller share of refinancing applications from Black Americans in 2020 than it had in
14
     2010.7
15
               15.   Notably, Wells Fargo was the only major lending institution in the United States to
16
17   reject the majority of Black applicants seeking to refinance their homes. Wells Fargo’s conduct is

18   especially pernicious with regards to refinancing—as opposed to a new loan application—because
19
     with a refinance, the applicant has already established an ability to pay a mortgage with a higher
20
     interest rate than would be secured with a refinanced loan.
21
               16.   Wells Fargo’s discrimination is even more stark when its treatment of Black home
22
23   loan applicants is compared to other financial institutions.

24             17.   By way of example, during the same time period, JP Morgan Chase & Co. approved
25
     81% of Black applicants seeking to refinance their home loan. Bank of America Corp. approved
26
27
28   5
         Id.
     6
         Id.
     7
         Id.


                                    CLASS ACTION COMPLAINT - 5
               Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 6 of 25



 1   over two-thirds of Black applicants; and Rocket Mortgage approved nearly 8-in-10 Black
 2
     applicants.8 Overall, other comparable lenders approved 71% of Black applicants seeking to
 3
     refinance their home loans.9 Meanwhile, Wells Fargo approved only 47% of Black applicants.
 4
             18.     One of those many Americans impacted by Wells Fargo’s discriminatory scheme
 5
 6   is Plaintiff Elretha Perkins. Ms. Perkins is a successful small business owner with a 40+ year

 7   career in North Carolina’s childcare and transportation industries. Ms. Perkins is a business leader,
 8
     a graduate of North Carolina A&T State University, a prominent Historically Black College and
 9
     University (“HBCU”), and leader within her local African American community. In addition to
10
11   her personal successes, she has raised extremely successful children who are active in Georgia’s

12   film and entertainment industry.
13           19.     Ms. Perkins has consistently made payments on her home loan, originally financed
14
     by Wells Fargo. Ms. Perkins’ creditworthiness is evidenced by her 720-credit score. Yet, despite
15
     her successful 40+ career and clear creditworthiness, when Ms. Perkins sought to refinance an
16
17   equity line of credit, Wells Fargo subjected her to delay tactics and overt acts of discrimination.

18           20.     Ms. Perkins faced a multitude of pretextual obstacles and actions by Wells Fargo,
19
     including mandating that in order for her to refinance her equity line of credit she would have to
20
     apply for a modification under a “hardship” program, as if the loan was in distress, despite Ms.
21
     Perkins not facing any financial hardship or need to modify the loan under a loss mitigation
22
23   program. Wells Fargo also required her to speak with third-party entities to simply make payments

24   on her equity line of credit. Ms. Perkins was given the runaround to such an extent that she has
25
26
27   8
        See Wells Fargo refinancing loan approvals lower for Blacks (Philadelphia Tribune),
     www.phillytrib.com/news/business/wells-fargo-refinancing-loan-approvals-lower-for-blacks/article_379b95bd-
28   d8a7-5402-abb9-d569c68bbbc6.html, (accessed March 26, 2022).
     9
        See Wells Fargo Rejected Half Its Black Applicants in Mortgage Refinancing Boom (bloomberg.com),
     www.bloomberg.com/graphics/2022-wells-fargo-black-home-loan-refinancing/, (accessed March 28, 2022)


                                      CLASS ACTION COMPLAINT - 6
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 7 of 25



 1   had to submit the same tax and income documents multiple times only to face more delays from
 2
     Wells Fargo in processing her refinancing request.
 3
            21.     Another American impacted by Wells Fargo’s discriminatory scheme is Plaintiff
 4
     Laronica Johnson. Ms. Johnson is a caring and committed educator. Ms. Johnson received her
 5
 6   bachelor’s degree from Texas Southern University and her master’s degree from Prairie View

 7   A&M University, both HBCU’s. Today, Ms. Johnson works to ensure that all children receive
 8
     equal treatment and access to education as a special education teacher.
 9
            22.     Ms. Johnson has consistently made payments on her home loan. Ms. Johnson has
10
11   never been late on her current home mortgage payment. Her creditworthiness is evidenced by her

12   680-credit score.
13          23.     Despite her creditworthiness, Wells Fargo provided a series of pretextual reasons
14
     in discriminating against Ms. Johnson. For example, contrary to the purpose of borrowers
15
     refinancing their home mortgage loans, Wells Fargo personnel told Ms. Johnson that refinancing
16
17   did not make sense in her case and would result in her mortgage and/or interest rate increasing. In

18   addition, despite approving many other similarly situated white applicants, Wells Fargo personnel
19
     told Ms. Johnson that refinancing was “just not worth it.” Between 2019 and 2022, Ms. Johnson
20
     has applied three times to refinance her home mortgage loan with Wells Fargo. Wells Fargo denied
21
     Ms. Johnson each time.
22
23          24.     The experiences of Ms. Perkins and Ms. Johnson mirror the experiences of so many

24   Black and Brown Americans who have been damaged by Wells Fargo’s systemic discrimination.
25
     Wells Fargo’s discriminatory conduct violates the commercial and civil rights of Class members
26
     and has caused hundreds of millions of dollars in damages to the Class. Individually, and as Class
27
28   Representatives, Ms. Perkins and Ms. Johnson bring this action against Wells Fargo to restore the




                                    CLASS ACTION COMPLAINT - 7
               Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 8 of 25



 1   Class any amounts which they otherwise would have been entitled to under law, together with any
 2
     other equitable and remedial relief as the Court may deem appropriate.
 3
 4                                 II. JURISDICTION AND VENUE
 5          25.     Plaintiffs bring this action under the Equal Credit Opportunity Act, 15 U.S.C.
 6
     § 1691 et seq, the Fair Housing Act of 1968, 42 U.S.C. § 3601 et seq, and the Civil Rights Act of
 7
     1866, 42 U.S.C. § 1981, to secure declaratory and injunctive relief, statutory damages, costs of
 8
 9   suit, and reasonable attorneys’ fees for the injuries that Plaintiffs and members of the Class

10   sustained as a result of Defendants’ violations.
11
            26.     This Court has federal question jurisdiction under 28 U.S.C. §§ 1331, 1332(d), and
12
     1343, regarding Plaintiffs’ claims arising under the Equal Credit Opportunity Act, 15 U.S.C.
13
14   § 1691 et seq, the Fair Housing Act of 1968, 42 U.S.C. § 3601 et seq, and the Civil Rights Act of

15   1866, 42 U.S.C. § 1981.
16          27.     This Court has supplemental jurisdiction under 28 U.S.C. § 1367(a), regarding
17
     Plaintiffs’ claims arising under California’s Unfair Competition Law, Cal. Bus. And Pro. Code
18
     § 17200 et seq., because this claim is so related to the federal Equal Credit Opportunity Act, the
19
20   Fair Housing Act of 1968, and the Civil Rights Act of 1866 claims that they form part of the same

21   case or controversy under Article III of the United States Constitution.
22          28.     This Court has personal jurisdiction over Defendants because, among other things,
23
     they: (a) transacted business throughout the United States, including in this District; (b) the illegal
24
     discrimination alleged took place in this District; (c) had maintained substantial aggregate contacts
25
26   with the United States as a whole, including in this District; (d) had substantial contact in various

27   states in the United States, including in this District; and (e) directed its illegal discrimination and
28
     had direct, substantial, reasonably foreseeable, and intended effect of causing injury to persons



                                     CLASS ACTION COMPLAINT - 8
               Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 9 of 25



 1   residing in, located in, or doing business throughout the United States, including in this District.
 2
     Defendants also conduct business throughout the United States, including in this District, and have
 3
     purposefully availed themselves of the laws of the United States.
 4
             29.     This District is the appropriate venue under 28 U.S.C. §1391(c), because during the
 5
 6   Class Period, Defendants transacted business in this District, and a substantial part of the events

 7   giving rise to the Plaintiffs’ claims took place in this District.
 8
 9                                             III. PARTIES

10   A. Plaintiffs
11
             Elretha Perkins
12
             30.     Plaintiff Elretha Perkins is a Black female homeowner with a 720-credit score, and
13
     is a natural person and citizen of Eden, North Carolina. Ms. Perkins owns homes in both Eden,
14
15   North Carolina and Dacula, Georgia. Ms. Perkins’ Dacula, Georgia home was financed through

16   Wells Fargo. Ms. Perkins has been a Wells Fargo customer for nearly 20 years.
17
             Laronica Johnson
18
             31.     Plaintiff Laronica Johnson is a Black female homeowner with a 680-credit score,
19
     and is a natural person and citizen of Houston, Texas. Ms. Johnson owns a home in Houston,
20
21   Texas. Ms. Johnson unsuccessfully sought to refinance her home mortgage loan through Wells

22   Fargo on three separate occasions between 2019 and 2022.
23
     B.      Defendants
24
             Wells Fargo, N.A.
25
26           32.     Defendant Wells Fargo, N.A. a publicly traded, global financial services firm and

27   a Fortune 500 corporation incorporated in the State of Delaware, with its principal place of
28



                                     CLASS ACTION COMPLAINT - 9
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 10 of 25



 1   business in the State of California. As of 2020, Defendant Wells Fargo N.A. has assets of
 2
     approximately $1.9 trillion. Among other things, Wells Fargo, N.A. is a mortgage lender.
 3
             Wells Fargo Home Mortgage
 4
             33.      Defendant Wells Fargo Home Mortgage is a home lending company that is one of
 5
 6   Wells Fargo’s various corporate entities. Defendant Wells Fargo Home Mortgage originates and

 7   services approximately $300 billion worth of loans per year. Wells Fargo Home Mortgage is
 8
     incorporated in the State of Delaware and has its principal place of business in the State of Iowa.
 9
10                                 IV. FACTUAL ALLEGATIONS
11
12   A.      Access to Home Loan Refinancing Hits Record Highs

13
             34.      Refinancing a home loan provides homeowners the ability to reduce the interest on
14
15   their home loan payments, to “cash out” and capture the additional equity their homes have gained

16   since the previous financing and may permit home loan borrowers to save money on the principal
17   of their loan.
18
             35.      Because of historically low interest rates, millions of Americans have applied to
19
     refinance their homes over the last few years. These homeowners have refinanced over $5 trillion
20
21   in mortgage value.

22
     B.      Wells Fargo’s Discriminatory Scheme
23
             36.      Wells Fargo executes its discriminatory scheme in two key ways. First, Wells
24
25   Fargo utilizes a computer system with a discriminatory automated algorithm and artificial

26   intelligence machine learning program to make home loan decisions. These discriminatory
27   algorithms and artificial intelligence machine learning technologies—like the redlining maps of
28
     the 1930’s—select geographic areas that are predominantly Black, and then either deny home loan


                                    CLASS ACTION COMPLAINT - 10
               Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 11 of 25



 1   opportunities to Black applicants or provide inferior terms and processing than the terms and
 2
     processing received by similarly situated white applicants. For example, Wells Fargo’s algorithms
 3
     and artificial intelligence machine identified geographic neighborhoods eligible for quick
 4
     evaluations of refinancing applicants. This algorithm consistently labeled predominantly Black
 5
 6   neighborhoods ineligible for rapid processing.

 7          37.     Second, Wells Fargo employed a series of pretextual actions that are instrumental
 8
     to further its discriminatory scheme.
 9
            38.     One pretextual action was that Wells Fargo placed its loan officers significantly
10
11   farther away from Black applicants to reduce the amount and frequency of home loan applications

12   from Black applicants.
13          39.     Another pretextual action was Wells Fargo delaying the home loan valuation
14
     process for Black applicants as well as delaying the valuation process of homes located in
15
     predominantly Black neighborhoods. The valuation process is critical to any home loan and home
16
17   sale transaction. By deploying this pretextual action, Wells Fargo treated Black applicants

18   differently than their similarly situated white counterparts.
19
            40.     A third pretextual action was the intentional delay in the processing of applications
20
     from African Americans, when compared to their similarly situated white counterparts. Wells
21
     Fargo regularly approved refinancing applications of non-Black homeowners in just weeks but
22
23   took significantly longer to approve the applications of Black homeowners, sometimes taking

24   months.
25
     C.     Data Shows Wells Fargo Disparately Treated Its Black Home Loan Applicants.
26
27          41.     The impact of Wells Fargo’s discriminatory scheme is also evident from the data.

28



                                    CLASS ACTION COMPLAINT - 11
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 12 of 25



 1           42.    In 2020, Wells Fargo approved Black homeowner refinancing applications at a rate
 2
     far lower than that of any other major lender in the United States of America.
 3
             43.    For instance, JP Morgan Chase & Co. approved 81% of Black applicants seeking
 4
     to refinance their home loans. Bank of America Corp. approved over two-thirds of Black
 5
 6   applicants; and Rocket Mortgage approved nearly 8-in-10 Black applicants.

 7           44.    Overall, other comparable lenders approved 71% of Black applicants seeking to
 8
     refinance their home loans, whereas Wells Fargo approved only 47%.
 9
10   D.      Plaintiffs Elretha Perkins and Laronica Johnson Were Harmed by Wells Fargo’s
             Race-Based Discrimination.
11
12
             45.    Plaintiff Elretha Perkins purchased her home in Dacula, Georgia in 2006, through
13
     a Wells Fargo home loan for $470,000 (“Home Loan”). Today, Ms. Perkin’s Dacula home is
14
15   worth approximately $630,000. As part of this home loan approval, but without Ms. Perkins

16   knowledge, Wells Fargo added a second home equity loan (“Home Equity Loan”) to Ms. Perkins
17
     lending package. Ms. Perkins consistently made payments to Wells Fargo from 2006 through
18
     2018.
19
             46.    In 2018, Ms. Perkins’ Home Loan contract was moved to a third-party mortgage
20
21   servicer, Specialized Loan Services. Ms. Perkins’ Home Equity Loan, however, continued to be

22   serviced by Wells Fargo. Ms. Perkins began making home loan payments to Specialized Loan
23
     Services, and Home Equity Loan payments to Wells Fargo.
24
             47.    In 2021, Ms. Perkins sought to refinance her Home Equity Loan through Wells
25
26   Fargo. Because of her high credit score and history with Wells Fargo, Ms. Perkins believed

27   refinancing her Home Equity Loan would be easy. She was sadly mistaken.
28



                                   CLASS ACTION COMPLAINT - 12
             Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 13 of 25



 1          48.    For example, upon initially seeking to refinance her Home Equity Loan, Wells
 2
     Fargo repeatedly asked Ms. Perkins to resubmit paperwork because Wells Fargo personnel claimed
 3
     that the information she had submitted was either not received, missing, or somehow lost. Wells
 4
     Fargo personnel also took weeks or months to respond to Ms. Perkins’ inquiries about the status
 5
 6   of her Home Equity Loan refinance request.

 7          49.    During this time, Wells Fargo mandated that for Ms. Perkins to refinance her Home
 8
     Equity Loan she would have to apply for a loan modification classifying the loan with “Hardship”
 9
     status, despite Ms. Perkins facing no financial hardship or requesting any hardship status. Wells
10
11   Fargo then advised Ms. Perkins that the only way for her to be considered for a Home Equity Loan

12   refinance would be for her to fill out paperwork seeking mortgage assistance through loss
13   mitigation.
14
            50.      Although Ms. Perkins was not under any financial hardship, she very much
15
     desired to refinance her Home Equity Loan so she acquiesced to Wells Fargo’s request and filled
16
17   out hardship paperwork. Despite following Wells Fargo’s directions for nearly 12 months,

18   including submitting paperwork for mortgage assistance and “hardship” status that Ms. Perkins
19
     did not need, Wells Fargo has constructively denied her home loan refinance request.
20
            51.      Plaintiff Laronica Johnson purchased her home in Houston, Texas in 2016, for
21
     approximately $163,000. Her home is currently worth approximately $261,000. In 2018, Wells
22
23   Fargo notified Ms. Johnson that it would take over servicing her mortgage, which was originated

24   with a third-party, TexMex Mortgage Company.
25
            52.    In July 2019, Ms. Johnson first applied to refinance her home mortgage loan
26
     through Wells Fargo. Contrary to the entire purpose of refinancing a home mortgage, Wells Fargo
27
28   personnel told Ms. Johnson that refinance would cost her more money than her initial mortgage




                                  CLASS ACTION COMPLAINT - 13
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 14 of 25



 1   agreement. Following this illogical explanation, Wells Fargo personnel told Ms. Johnson that it
 2
     “just did not make sense” for Ms. Johnson to obtain a home loan refinance at this time.
 3
            53.     In October 2020, Ms. Johnson again applied to refinance her home mortgage loan
 4
     through Wells Fargo. This time, Wells Fargo gave Ms. Johnson the runaround, farcically
 5
 6   explaining that it just would not be “worth it” for her to refinance her home mortgage loan and that

 7   based upon the application she submitted, it did not look like refinancing would result in a lower
 8
     interest rate. When Ms. Johnson inquired into why, especially in light of her 680-credit score,
 9
     Wells Fargo personnel relied on a nonsensical excuse that refinancing was simply not in Ms.
10
11   Johnson’s best interest.

12          54.      In February 2022, Ms. Johnson applied to refinance her home mortgage loan
13   through Wells Fargo for a third time. During this attempt, Wells Fargo personnel told Ms. Johnson
14
     that refinancing her home mortgage loan, which is typically sought for the purpose of reducing
15
     monthly payments for a borrower, would result in Ms. Johnson paying an additional $10,000 on
16
17   her mortgage. When Ms. Johnson explained to Wells Fargo that such an increase does not make

18   sense in light of her knowing others who had been approved for refinancing, Wells Fargo continued
19
     the denial.
20
            55.     In causing injury to the Plaintiffs and the members of the Class, Defendants have
21
     acted intentionally, maliciously, and with willful, callous, wanton, and reckless disregard for the
22
23   Plaintiffs’ and Class members’ rights.

24
                                V. CLASS ACTION ALLEGATIONS
25
26          56.     Plaintiffs Elretha Perkins and Laronica Johnson bring this action on behalf of

27   themselves and all others similarly situated as a class action under Rules 23(a), (b)(2) and (b)(3)
28   of the Federal Rules of Civil Procedure on behalf of the members of the following Class:



                                   CLASS ACTION COMPLAINT - 14
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 15 of 25



 1          All Black persons, as well as other racial minorities, in the United States of
            America, who from January 1, 2018 through the Present (the “Class Period”),
 2
            submitted, or attempted to submit, an application to finance or refinance their home
 3          mortgage through the Defendants that was (i) processed at a rate slower than that
            of the average processing time of applications made by non-Black or other non-
 4          racial minority applicants; or (ii) whose application was denied; or (iii) whose
            resulting refinanced loans were made at higher interest rates as compared to
 5
            similarly situated non-Black applicants.
 6
            57.     Plaintiffs and Class members reserve the right to amend the Class definitions as
 7
 8   discovery proceeds and to conform to the evidence. Excluded from the Class are Defendants and

 9   their employees, affiliates, parent entities, subsidiaries, and co-conspirators, whether or not named
10   in this complaint, and the United States Government.
11
            58.     The exact size of the Class is unknown at this time because the information is in
12
     the exclusive control of Defendants. However, upon information and belief and due to the nature
13
14   of commerce involved, there are thousands of Class members geographically dispersed throughout

15   the United States, such that joinder of all class members is impracticable.
16          59.     The Class is readily ascertainable by business records and other data from
17
     Defendants.
18
            60.     Plaintiffs’ claim is typical of the claims of the members of the Plaintiff Class
19
20   because Plaintiffs and members of the Class all submitted applications for home loan refinancing

21   to Defendants, and therefore Plaintiffs’ claim arises from the same common course of conduct
22
     giving rise to the claims of the members of the Class and the relief sought is common to the Class.
23
            61.     Plaintiffs will fairly and adequately protect the interests of the Class. Plaintiffs’
24
     interests are aligned with, and not antagonistic to, the Class.
25
26          62.     Plaintiffs has retained counsel competent and experienced in class action litigation.
27          63.     Numerous questions of law and fact common to each Class member exist that
28
     predominate over questions affecting only individual members, including, but not limited to:


                                    CLASS ACTION COMPLAINT - 15
             Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 16 of 25



 1                  A. Whether Defendants discriminated against Plaintiffs and the Class;
 2
                    B. Whether such discrimination is a violation of the Equal Credit Opportunity
 3
                         Act; the Fair Housing Act; the Civil Rights Act of 1866; and California’s
 4
                         Unfair Competition Law;
 5
 6                  C. Whether Defendants’ acts, policies, and practices have a disparate impact on

 7                       the basis of race, color, and/or national origin with respect to credit
 8
                         transactions, as described herein, on the basis of race;
 9
                    D. Whether Defendants’ acts, policies, and practices have provided and continue
10
11                       to provide different terms, conditions, and privileges on the basis of race, color,

12                       and/or national origin in connection with the making of residential real estate-
13                       related transactions;
14
                    E. The natural persons involved in the alleged discrimination, and their acts in
15
                         furtherance of the illegal practice;
16
17                  F.   The period of time the alleged discrimination existed;

18                  G. Whether and the extent to which Defendants’ discrimination resulted in
19
                         increased interest and/or principal amounts incurred by Plaintiffs and Class
20
                         Members above natural market levels;
21
                    H. The nature and scope of the injunctive relief required to remedy continuous
22
23                       illegal discrimination;

24                  I.   The measure of damages suffered by Plaintiffs and the Class Members.
25
            64.     A class action is superior to other available methods for the fair and efficient
26
     adjudication of this controversy since individual joinder of all damaged Class members is
27
28   impractical. Prosecution as a class action will eliminate the possibility of repetitious litigation.




                                   CLASS ACTION COMPLAINT - 16
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 17 of 25



 1   The damages suffered by individual Class members are relatively small, given the expense and
 2
     burden of individual prosecution of the claims asserted in this litigation. Absent a class action, it
 3
     would not be feasible for Class members to seek redress for the violations of law herein alleged.
 4
     Further, individual litigation presents the potential for inconsistent or contradictory judgments and
 5
 6   would greatly magnify the delay and expense to all parties and to the court system. Therefore, a

 7   class action presents far fewer case management difficulties and will provide the benefits of unitary
 8
     adjudication, economy of scale and comprehensive supervision by a single court. The Class is
 9
     readily definable and is one for which records likely exist in the files of Defendants.
10
11          65.     Defendants’ actions are ongoing and without Court intervention, will continue

12   unabated. Accordingly, Plaintiffs seek to represent the Class under Rule 23(b)(2) for an award of
13   declaratory and injunctive relief finding the Defendants’ discriminatory actions improper and
14
     enjoining the Defendants from continuing their acts of discrimination as described herein.
15
16                                   VI.   CLAIMS FOR RELIEF
17
                              FIRST CLAIM FOR RELIEF
18                VIOLATION OF THE EQUAL CREDIT OPPORTUNITY ACT
                                 15 U.S.C. § 1691, et seq.
19
20          66.     Plaintiffs incorporate by reference each of the allegations contained in the
21
     preceding paragraphs as if fully set forth herein.
22
            67.     The Equal Credit Opportunity Act makes it unlawful for a creditor to discriminate
23
     against any applicant with respect to any aspect of a credit transaction on the basis of race.
24
25          68.     The Equal Credit Opportunity Act applies to all applications for financing,

26   including applications for refinancing like those the Plaintiffs, and all others similarly situated,
27
     sought. Plaintiffs applied for credit by seeking to refinance their home loans.
28



                                    CLASS ACTION COMPLAINT - 17
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 18 of 25



 1          69.     Defendants are creditors because they regularly extend, renew, and continue the
 2
     issuance of credit.
 3
            70.     Defendants’ denial of home loan refinance applications based on race, and
 4
     Defendants’ perpetual delays, roadblocks, and other pretextual actions, constitute race-based
 5
 6   discrimination and are unlawful under the Equal Credit Opportunity Act.

 7          71.     Defendants’ acts, policies, and practices are intentionally discriminatory on the
 8
     basis of race, color, and/or national origin with respect to aspects of credit transactions, constitute
 9
     redlining, and violate 15 U.S.C. § 1691(a)(1).
10
11          72.     Defendants’ acts, policies, and practices have a disparate impact on the basis of

12   race, color, and/or national origin with respect to aspects of credit transactions in violation of 15
13   U.S.C. § 1691(a)(1).
14
            73.     Defendants have maintained these acts, policies, and practices continuously and
15
     without material change since at least 2018, and they constitute a continuing violation of the Equal
16
17   Credit Opportunity Act.

18          74.     Plaintiffs and all other similarly situated were harmed by Defendants’ conduct,
19
     including, but not limited to, harm in the form of higher interest rates paid while applications were
20
     pending, higher interest rates paid upon a delayed approval, an inability to secure a “cash out”
21
     refinance loan, an inability to reduce the principal on a home loan payment, or from a denied
22
23   application.

24          75.     On behalf of themselves, and all others similar situated, Plaintiffs requests the relief
25
     set forth below.
26
27
28



                                    CLASS ACTION COMPLAINT - 18
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 19 of 25



 1                               SECOND CLAIM FOR RELIEF
                         VIOLATION OF THE FAIR HOUSING ACT OF 1968
 2
                                    42 U.S.C. § 3601, et seq.
 3
             76.     Plaintiffs incorporate by reference each of the allegations contained in the
 4
     preceding paragraphs as if fully set forth herein.
 5
 6           77.     The Fair Housing Act makes it illegal to discriminate against any designated class
 7
     of individuals in a residential real estate transaction.
 8
             78.     Plaintiffs and all others similarly situated sought to engage in a residential real
 9
10   estate transaction with the Defendants.

11           79.     Plaintiffs and all others similarly situated are African Americans, or other racial
12   minorities, and therefore members of a protected class under the Fair Housing Act.
13
             80.     Defendants refused to transact business with Plaintiffs and all others similarly
14
     situated by (i) denying Black (or other racial minority) home loan applicants, of worthy credit,
15
16   while approving home loan applications from their similarly situated white counterparts; (ii)

17   approving Black (or other racial minority) home loan applicants, but with inferior terms than terms
18   offered to similarly situated white home loan applicants; (iii) refusing to approve refinancing
19
     applications on the same window of time as applications made by other parties with similar
20
     qualifications that were not members of the protected class, or by (iv) constructively causing
21
22   applicants to withdraw applications due to roadblocks and pretextual actions.

23           81.     Defendants refused to transact business with Plaintiffs and all others similarly
24
     situated during the Class Period and at the same time transacted business with non-Black
25
     homeowners with similar qualifications.
26
27           82.     Defendants’ acts, policies, and practices have provided and continue to provide

28   different terms, conditions, and privileges on the basis of race, color, and/or national origin in



                                     CLASS ACTION COMPLAINT - 19
               Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 20 of 25



 1   connection with the making of residential real estate-related transactions, in violation of 42 U.S.C.
 2
     § 3605
 3
              83.   Plaintiffs and all others similarly situated were disparately impacted by Defendants’
 4
     refusal to transact business with them on equal terms because, among other things, they: (i) paid
 5
 6   application fees for refinancing applications that were delayed or denied; (ii) continued to pay

 7   higher interest rates while their delayed applications were pending; (iii) were provided with higher
 8
     interest rates than other similarly situated Non-Black applicants; or (iv) were unable to “cash out”
 9
     of their mortgage and capture increased home value since a previous financing.
10
11            84.   Defendants have maintained these acts, policies, and practices continuously and

12   without material change since at least 2018, and they constitute a continuing violation of the Fair
13   Housing Act.
14
                                 THIRD CLAIM FOR RELIEF
15                       VIOLATION OF THE CIVIL RIGHTS ACT OF 1866
16                                  42 U.S.C. § 1981, et seq.

17            85.   Plaintiffs incorporate by reference each of the allegations contained in the
18   preceding paragraphs as if fully set forth herein.
19
              86.   Racial discrimination in contracting is prohibited by 42 U.S.C. § 1981, which
20
     ensures that all people have the same right to make and enforce contracts “as is enjoyed by white
21
22   citizens.” Section 1981 was enacted to eradicate racial discrimination in contracting as is derived

23   from the Civil Rights Act of 1866 and applies with full force and effect today.
24
              87.   Defendants have engaged in, and is engaging in, pernicious, intentional racial
25
     discrimination in contracting, which is illegal under § 1981. Section 1981 is broad, covering “the
26
     making, performance, modification, and termination of contracts, and the enjoyment of all
27
28   benefits, privileges, terms, and conditions of the contractual relationship.”



                                    CLASS ACTION COMPLAINT - 20
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 21 of 25



 1          88.     African Americans and other racial minorities are a protected class under § 1981.
 2
     Plaintiffs and the Class Members are members of that class as they are African American or other
 3
     racial minorities.
 4
            89.     As alleged herein, Plaintiffs and the Class Members attempted to contract with the
 5
 6   Defendants for home loans and loan refinancing, but the Defendants refused, engaging in a series

 7   of pretextual acts meant to discriminate, including but not limited to, (i) denying Black (or other
 8
     racial minority) home loan applicants, of worthy credit; (ii) approving Black (or other racial
 9
     minority) home loan applicants, but with inferior terms than terms offered to similarly situated
10
11   white home loan applicants; (iii) refusing to approve refinancing applications on the same window

12   of time as applications made by other parties with similar qualifications that were not members of
13   the protected class, or by (iv) constructively causing applicants to withdraw applications due to
14
     roadblocks and pretextual actions. Yet, Defendants have continued to contract with and make
15
     themselves available to contract with similarly situated white home loan applicants.
16
17          90.     Defendants have refused to contract with Plaintiffs and the Class Members for

18   home loan financing. Defendants have a pattern and practice of refusing to do business, or offering
19
     unequal contracting terms to, African Americans and other racial minorities.
20
            91.     Plaintiffs and all other similarly situated were harmed by Defendants’ conduct,
21
     including, but not limited to, harm in the form of higher interest rates paid while applications were
22
23   pending, higher interest rates paid upon a delayed approval, an inability to secure a “cash out”

24   refinance loan, an inability to reduce the principal on a home loan payment, or from a denied
25
     application.
26
            92.     Accordingly, Defendants’ unlawful discrimination has caused Plaintiffs and those
27
28   similarly situated harm for Defendants’ refusal to contract with Plaintiffs.




                                   CLASS ACTION COMPLAINT - 21
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 22 of 25



 1                           FOURTH CLAIM FOR RELIEF
               VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW
 2
                          Cal. Bus. & Pro. Code §17200, et seq.
 3
 4          93.     Plaintiffs incorporates by reference each of the allegations contained in the
 5
     preceding paragraphs as if fully set forth herein.
 6
            94.     The California Unfair Competition Law (“UCL”) forbids “unlawful, unfair or
 7
 8   fraudulent” conduct in connection with business activity.

 9          95.     Defendants’ business offering of financing loans and refinancing of existing loans
10   is a business activity under the UCL.
11
            96.     Plaintiffs and others similarly situated are “persons” under the UCL.
12
            97.     Defendants’ conduct described herein constitutes unlawful competition, as in the
13
14   course of engaging in the business acts described above, it engaged in conduct that constituted a

15   predicate violation of the laws identified herein, namely the Equal Credit Opportunity Act and the
16   Fair Housing Act, 42 U.S.C. § 1981.
17
            98.     Defendants’ conduct described herein constitutes unfair competition under the
18
     UCL, as Defendants deploy hidden business practices designed to deny, delay and refuse the
19
20   financing and/or refinancing of loans of Black Americans, and subjecting those that are approved,

21   to less favorable terms than white borrowers. Defendants’ acts and practices offended an
22
     established public policy, and engaged in immoral, unethical, oppressive, and unscrupulous
23
     activities that are substantially injurious to consumers. As there is no legitimate justification for
24
     these practices, which have a disproportionately negative impact on the public, in comparison to
25
26   any fair business, purpose Defendants’ practices are unfair as defined under the UCL.
27          99.     A business act or practice is “fraudulent” under the UCL if it is likely to deceive
28
     members of the consuming public.


                                    CLASS ACTION COMPLAINT - 22
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 23 of 25



 1          100.    Defendants’ acts and practices alleged above constitute unlawful business acts or
 2
     practices as they have violated federal law as described herein.
 3
            101.    Defendants’ conduct described herein constitutes fraudulent competition under the
 4
     UCL, as they claim they will fairly and quickly process the financing and refinancing applications
 5
 6   of all applicants, but instead use hidden business practices designed to deny, delay and refuse the

 7   refinancing of loans of Black Americans, and subjecting those that are approved to less favorable
 8
     terms. These business practices are likely to deceive the public, and thus are fraudulent.
 9
            102.    Plaintiffs and those similarly situated were injured by Defendants’ refusal to
10
11   transact business with them because they paid application fees for financing and refinancing

12   applications that were delayed or denied, because they continued to pay higher interest rates while
13   their delayed applications were pending, because they were provided with higher interest rates
14
     than other homeowners with similar qualifications, because they were offered less favorable terms
15
     than white borrowers, and/or because their applications were denied.
16
17                                 VII.   REQUEST FOR RELIEF

18          WHEREFORE, Plaintiffs, individually and on behalf of the proposed Class of similarly
19
     situated persons, respectfully seek the following relief:
20
            A.      An order certifying this action as a class action under Fed. R. Civ. P. 23(a), (b)(2),
21
                    and (b)(3), defining the Class as requested herein, finding that Plaintiffs are proper
22
23                  representatives of the Class requested herein, and appointing Plaintiffs’ counsel as

24                  Class Counsel;
25
            B.      Designate Plaintiffs as Class Representatives and designate the undersigned
26
                    counsel as lead Class Counsel;
27
28



                                    CLASS ACTION COMPLAINT - 23
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 24 of 25



 1           C.      Find that Defendants’ acts described herein violate the Equal Credit Opportunity
 2
                     Act, the Fair Housing Act, the Civil Rights Act of 1866, and the California Unfair
 3
                     Competition Law;
 4
             D.      Enter a declaratory judgment that the forgoing acts, policies, and practices of
 5
 6                   Defendants violate 15 U.S.C. § 1691; and 42 U.S.C. § 3605;

 7           E.      Enter a permanent injunction enjoining Defendants from continuing to implement
 8
                     and enforce the illegal conduct described herein and directing Defendants to take
 9
                     all affirmative steps necessary to remedy the effects of that conduct and to prevent
10
11                   additional instances of such conduct or similar conduct from occurring in the future;

12           F.      Find that Defendants have engaged in a pattern and practice of racial discrimination
13                   resulting in the harm to Plaintiffs and class members described above;
14
             G.      Award Plaintiffs and the members of the Class damages in an amount to be
15
                     determined by the Court;
16
17           H.      Award Plaintiffs and the members of the Class pre- and post- judgment interest as

18                   provided by law, and that such interest be awarded at the highest legal rate from
19
                     and after the date of service of this Complaint;
20
             I.      Award Plaintiffs and the members of the Class the costs of suit, including
21
                     reasonable attorneys’ fees, as provided by law; and
22
23           J.      Award Plaintiffs and the members of the Class any other and further relief as the

24                   case may require and the Court may deem just and proper.
25
                               VIII.    JURY TRIAL DEMANDED
26
27           Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil
28
     Procedure, of all issues so triable.



                                    CLASS ACTION COMPLAINT - 24
              Case 4:22-cv-03455-DMR Document 1 Filed 06/10/22 Page 25 of 25



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                                  CLASS ACTION COMPLAINT - 25
